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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:02CR164
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
JOSE SARABIA-GARCIA,                         )
                                             )
              Defendant.                     )


       This matter is before the Court on the government’s Motion to Dismiss without

Prejudice the Indictment (Filing No. 647). Under Federal Rule of Criminal Procedure 48(a),

leave of court is granted for the dismissal of the Indictment without prejudice against the

above-named Defendant.

       IT IS ORDERED that the government’s Motion to Dismiss without Prejudice the

Indictment (Filing No. 647) is granted, and this action is dismissed, without prejudice.

       DATED this 14th day of May, 2015.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge
